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            4   Attorney for Defendant
                KEITH WOOLRIDGE
            5

            6

            7                  IN THE UNITED STATES DISTRICT COURT FOR THE

            8                         EASTERN DISTRICT OF CALIFORNIA

            9

           10   UNITED STATES OF AMERICA             |
                                                     |
           11                Plaintiff,              |     Case No. 1:12-0031 AWI-BAM
                vs.                                  |
           12                                        |     STIPULATION AND
                KEITH WOOLRIDGE                      |     ORDER TO MODIFY CONDITIONS
           13                                        |     OF SUPERVISED RELEASE
                        Defendant.                   |
           14                                        |

           15           Defendant KEITH WOOLRIDGE by and through his attorney James

           16   R. Homola, the United States of America, by and through its

           17   attorney, Mark J. McKeon, Assistant U.S. Attorney, hereby

           18   stipulate to the following joint request:

           19           That the conditions of release be modified to reflect Mr.

           20   WOOLRIDGE’s completion of the inpatient program at WestCare,

           21   namely that the condition directing third-party custody be vacated

           22   and replaced by a directive to participate in Moral Reconation

           23   Therapy, while all other conditions remain in effect.

           24   DATED: December 27, 2012

           25           /s/ James R. Homola                /s/ Mark J. McKeon
                        JAMES R. HOMOLA                    MARK J. MCKEON

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                   Case 1:12-cr-00031-AWI-BAM Document 65 Filed 12/27/12 Page 2 of 2
                        Attorney for Defendant           Assistant U.S. Attorney

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            2
                                                    ORDER
            3
                THE CONDITION OF RELEASE directing that KEITH WOOLRIDGE
            4
                participate in the WestCare in-patient program is terminated.
            5
                WestCare is removed as the third party custodian, and residential
            6
                substance abuse treatment is terminated.          Defendant shall reside
            7
                at a residence approved by the Pretrial Services Officer. The
            8
                defendant shall participate in a MRT/cognitive behavioral
            9
                treatment program as directed by the Pretrial Services Officer.
           10
                Such program may include group sessions led by a counselor or
           11
                participation in a program administered by the Pretrial Services
           12
                Officer.     These changed conditions shall be effective on January
           13
                1, 2013.     All other conditions of release remain in effect.
           14
                       IT IS SO ORDERED.
           15

           16    Dated:    December 27, 2012                /s/ Barbara A. McAuliffe
                10c20k                                 UNITED STATES MAGISTRATE JUDGE
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